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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                     Criminal Action No.
           v.
                                                     1:19-cr-00184-MHC
   J IM C. B ECK


                                Trial Stipulations
   The United States of America, by Kurt R. Erskine, Acting United States
Attorney, and Brent Alan Gray and Sekret T. Sneed, Assistant United States
Attorneys, for the Northern District of Georgia, and the defendant, Jim C.
Beck, by William H. Thomas, Jr., Randy S. Chartash and Douglas Chalmers,
Jr., hereby enter the following trial stipulation:
      1.        The parties stipulate that the following documents and records,
   previously exchanged by the parties in discovery, are true and correct
   copies of records of acts, events, or conditions that (i) were made at or
   near the time of the acts, events, or conditions by—or from information
   transmitted by—someone with knowledge; (ii) were kept in the course of
   a regularly conducted activity of a business, organization, occupation, or
   calling, whether or not for profit; (iii) were made as a regular practice of
   that activity; and (iv) neither the source of information nor the method or
   circumstances of preparation indicate a lack of trustworthiness:

           a. Google records associated with the email account,
                jimcbeck@gmail.com;
           b. JMI inspection records and invoices for service provided to

                Georgia Underwriting Association (“GUA”);


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      c. Business records of Creative Consultants;
      d. Business records of GA Christian Coalition;

      e. Business records of GUA;
      f. Business records of Green Technology Services;
      g. Business records of Mitigating Solutions;
      h. Business records of Lucca Lu, LLC;
      i. Business records of Paperless Solutions, LLC;
      j. SunTrust records associated with the accounts of Creative
         Consultants, Jim Beck and/or Lucile Beck;
      k. Wells Fargo records associated with the accounts of Lucca Lu,
         Mitigating Solutions, Steve McKaig and/or Sonya McKaig;

      l. United Community Bank records associated with the accounts
         of Matthew Barfield, Green Technology Services, Steve Gradick,
         Paperless Solutions, Look into the Future Properties I, LLC, Jim
         Beck and/or Lucile Beck;
      m. BB&T records associated with the accounts of GUA;
      n. Bank of America records associated with the account(s) of
         Georgia Arson Control Program;
      o. FedEx service shipment records associated with shipments in
         2016 between Jim Beck and Green Technology
         Services/Matthew Barfield;
      p. Adventures in Advertising (AIA)/Gecko Production records
         associated with the production and purchase in 2018 of Jim
         Beck campaign signs;




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         q. Community and Southern Bank (aka Bank of OZK) associated
            with the accounts of GA Christian Coalition, Creative

            Consultants, and Jim and/or Lucile Beck;
         r. Ameriprise Financial Services (including Ameriprise Certificate
            Company) records associated with the accounts of GA Christian
            Coalition, Creative Consultants, and Jim and/or Lucile Beck;
            and
         s. Chase Bank records associated with the accounts of GA
            Christian Coalition, Creative Consultants, and Jim and/or
            Lucile Beck.
   Agreed to this 12th day of July, 2021.

Respectfully submitted,               Respectfully submitted,

___/s/ William H. Thomas Jr.__      K URT R. E RSKINE
William H. Thomas Jr.                  Acting United States Attorney
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                           Certificate of Service
The United States Attorney’s Office served this document today by filing it
using the Court’s CM / ECF system, which automatically notifies the parties
and counsel of record.

July 12, 2021

                                       /s/ S EKRET T. S NEED
                                       S EKRET T. S NEED
                                       Assistant United States Attorney




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